   Case 4:24-cv-00449-RGE-WPK             Document 4            Filed 12/18/24        Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA
                                  CENTRAL DIVISION

PRESIDENT DONALD J. TRUMP, an
individual,

                    Plaintiff,

        V.                                                       Case No. 4:24-cv-00449

J. ANN SELZER, SELZER & COMPANY,                          AFFIDAVIT OF FILING OF STATE
DES MOINES REGISTER AND TRIBUNE                            COURT NOTICE OF NOTICE OF
COMP ANY, and GANNETT CO., INC.,                                   REMOVAL

                   Defendants.


State of Iowa          )
                       ) ss:
County of Polk         )

        I, David Yoshimura, being first duly sworn on oath depose and state:

        On December 17, 2024 Defendant Gannett Co., Inc. ("Defendant") filed its Notice of

Filing Notice of Removal with the Clerk of the Iowa District Court · and for Polk County. A

copy of said Notice, bearing the "Filed" stamp of the Polk C           n

Exhibit A to this Affidavit.




                                                    Notary Public in and or the State of Iowa

My Commission Expires: Cf-I 3 -e:;,5
                                                     a•
                                                     ~•
                                                          ow►
                                                                r.• PAULETTE    OHNEMUS
                                                                    Commission Number 748875
                                                                      My Commission Expires
                                                                    September 13, 20~




                                                1
    Case 4:24-cv-00449-RGE-WPK                 Document 4      Filed 12/18/24   Page 2 of 2




                                           Certificate of Service

        The undersigned certifies that a true copy of Affidavit of Filing of State Court Notice of
Notice of Removal was served upon all parties of record through the court's CMIECF electronic
filing system with copies to the below named individuals by electronic mail on December 18,
2024.

                                                         Isl Paulette Ohnemus
Copy to:

                 EDWARD ANDREW PAL TZIK
                 Bochner PLLC
                 1040 Avenue of the Americas 15th Floor
                 New York, NY 10018
                 (516) 526-0341
                     edward@bochner. law

                 ALAN R. OSTERGREN
                 Attorney at Law
                 Alan R. Ostergren, PC 500 East Court Avenue Suite 420
                 Des Moines, Iowa 50309
                 (515) 297-0134
                 alan. ostergren@ostergrenlaw.com

Attorneys for Plaintiff




DMS_US.368203736.1                                  2
